

People v Hughes (2023 NY Slip Op 01100)





People v Hughes


2023 NY Slip Op 01100


Decided on March 1, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 1, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

FRANCESCA E. CONNOLLY, J.P.
CHERYL E. CHAMBERS
PAUL WOOTEN
BARRY E. WARHIT, JJ.


2022-01536 
 (Ind. No. 3997/84)

[*1]The People of the State of New York, plaintiff,
vGarland Hughes, defendant.


Garland Hughes, Fallsburg, NY, defendant pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Roni Piplani, and Adarna De Frietas of counsel), for plaintiff.



DECISION &amp; ORDER
Application by the defendant for a writ of error coram nobis seeking leave to file a late notice of appeal from a judgment of the Supreme Court, Queens County, rendered January 31, 1986.
ORDERED that the application is denied.
The defendant has not established his entitlement to the relief requested (see People v Syville, 15 NY3d 391).
CONNOLLY, J.P., CHAMBERS, WOOTEN and WARHIT, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








